                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No.       16-cr-277 RM
UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.   BERNARD MURRAY,

       Defendant.

                                         INDICTMENT
                                       18 U.S.C. ' 111(a)(1)


       The Grand Jury charges that:

                                          COUNT ONE
                    Assaulting and Resisting and Impeding Federal Employee
                                       (Physical Contact)

       On or about October 27, 2015, at the United States Penitentiary Bureau of Prisons facility,

Florence, Colorado, in the State and District of Colorado, BERNARD MURRAY, did knowingly

forcibly assault, resist, oppose, impede, intimidate and interfere with the victim, M.B., an officer

and employee of the Federal Bureau of Prisons, an agency of a branch of the United States

government, as designated in Title 18, United States Code, Section 1114, while the victim was

engaged in and on account of the performance of official duties and such acts involved physical

contact with the victim.

       In violation of Title 18, United States Code, Sections 111(a)(1)


                                              A TRUE BILL:
Ink signature on file in Clerk’s Office
       FOREPERSON


ROBERT C. TROYER
Acting United States Attorney


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